        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 1 of 33



Randall R. Lee (admitted pro hac vice)
COOLEY LLP
1333 2nd Street
Santa Monica, CA 90401
randall.lee@cooley.com
Telephone: (310) 883-6485
Facsimile: (310) 883-6500

Christopher Johnstone (admitted pro hac vice)
WILMER CUTLER PICKERING HALE
  AND DORR LLP
950 Page Mill Road
Palo Alto, CA 94304
chris.johnstone@wilmerhale.com
Telephone: (650) 858-6147
Facsimile: (650) 858-6100

Attorneys for Defendant Robert Ladd

                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK
____________________________________
SECURITIES AND EXCHANGE              )
COMMISSION,                          )
                                     )
                        Plaintiff,   ) Case No. 1:18-cv-08175-ER
                                     )
v.                                   )
                                     )
BARRY C. HONIG,                      ) ORAL ARGUMENT REQUESTED
et al.,                              )
                                     )
                        Defendants. )
____________________________________)


    MEMORANDUM OF LAW IN SUPPORT OF DEFENDANT ROBERT LADD’S
       MOTION TO DISMISS PURSUANT TO FEDERAL RULE OF CIVIL
        PROCEDURE 12(b)(6) AND MOTION TO STRIKE PURSUANT
            TO FEDERAL RULE OF CIVIL PROCEDURE 12(f)
         Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 2 of 33



                                              TABLE OF CONTENTS

                                                                                                                                 Page

I.     INTRODUCTION ...............................................................................................................1

II.    FACTUAL BACKGROUND ..............................................................................................2

       A.        Robert Ladd and MGT .............................................................................................2

       B.        The October 2012 Financing and Seeking Alpha Articles ......................................3

       C.        The October 2015 Financing ...................................................................................4

       D.        The February 2016 Article .......................................................................................5

       E.        MGT’s Agreement with John McAfee ....................................................................5

III.   LEGAL STANDARD ..........................................................................................................8

IV.    ARGUMENT .......................................................................................................................9

       A.        Allegations Outside the Statute of Limitations Should Be Struck
                 from the Complaint Under Rule 12(f) or Dismissed Under Rule 12(b)(6)..............9

       B.        The SEC Fails to Allege Fraud in Connection with the February 2016
                 Promotional Article ................................................................................................12

       C.        The SEC Fails to State a Fraud Claim in Connection with the
                 McAfee Announcement .........................................................................................15

       D.        The SEC Fails to State a Claim in Connection with
                 MGT’s Other Disclosures ......................................................................................19

       E.        The SEC Has Not Adequately Alleged Negligence ..............................................24

       F.        The Complaint Fails to State a Valid Claim for Aiding and Abetting...................25

V.     CONCLUSION ..................................................................................................................25




                                                                 i
            Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 3 of 33



                                              TABLE OF AUTHORITIES

                                                                                                                              Page(s)
CASES

Acito v. IMCERA Grp., Inc.,
        47 F.3d 47 (2d Cir. 1995)...................................................................................................14

Antelis v. Freeman,
        799 F. Supp. 2d 854 (N.D. Ill. 2011) .................................................................................19

Ashcroft v. Iqbal,
       556 U.S. 662 (2009) .............................................................................................................8

Barrett v. Forest Labs, Inc.,
       39 F. Supp. 3d 407 (S.D.N.Y. 2014)..................................................................................10

Bell Atlantic Corp. v. Twombly,
        550 U.S. 544 (2007) ...........................................................................................................22

Brown v. E.F. Hutton Grp., Inc.,
      991 F.2d 1020 (2d Cir. 1993).............................................................................................17

Chechele v. Scheetz,
      819 F. Supp. 2d 342 (S.D.N.Y. 2011)................................................................................22

Corenco Corp. v. Schiavone & Sons, Inc.,
      488 F.2d 207 (2d Cir. 1973)...............................................................................................21

Cortina v. Anavex Life Scis. Corp.,
       2016 WL 7480415 (S.D.N.Y. Dec. 29, 2016) ...................................................................13

Decker v. Massey-Ferguson, Ltd.,
      681 F.2d 111 (2d Cir. 1982)...............................................................................................18

DiVittorio v. Equidyne Extractive Indus., Inc.,
       822 F.2d 1242 (2d Cir. 1987).........................................................................................8, 18

Dombek v. Adler,
     2019 WL 459019 (D.S.C. Feb. 5, 2019) ............................................................................24

Fantasy, Inc. v. Fogerty,
       984 F.2d 1524 (9th Cir. 1993), rev’d on other grounds, 510 U.S. 17 (1994)....................10

Forward Indus. v. Wise,
      2014 WL 6901137 (S.D.N.Y. Sept. 23, 2014)...................................................................22

Gabelli v. SEC,
       568 U.S. 442 (2013) .....................................................................................................10, 11
                                                                   ii
            Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 4 of 33



                                                                                                                              Page(s)
Ganino v. Citizens Utilities Co.,
      228 F.3d 154 (2d Cir. 2000)...............................................................................................16

Garvey v. Arkoosh,
      354 F. Supp. 2d 73 (D. Mass. 2005) ..................................................................................13

Harris v. U.S. Dep’t of Veterans Affairs,
       776 F.3d 907 (D.C. Cir. 2015) ...........................................................................................24

In re Bank of Am. Corp. Sec., Deriv., & ERISA Litig.,
       2012 WL 1353523 (S.D.N.Y. Apr. 12, 2012)....................................................................17

In re Cannavest Corp. Sec. Litig.,
       307 F. Supp. 3d 222 (S.D.N.Y. 2018)................................................................................15

In re Charter Commc’ns,
       419 B.R. 221 (Bankr. S.D.N.Y. 2009) ...............................................................................23

In re Facebook, Inc., IPO Sec. & Deriv. Litig.,
       986 F. Supp. 2d 544 (S.D.N.Y. 2014)................................................................................22

In re Galectin Therapeutics, Inc. Sec. Litig.,
       843 F.3d 1257 (11th Cir. 2016) ...................................................................................12, 13

In re LaBranche Sec. Litig.,
        405 F. Supp. 2d 333 (S.D.N.Y. 2005)..........................................................................14, 15

In re Scholastic Corp. Sec. Litig.,
        252 F.3d 63 (2d Cir. 2001).................................................................................................15

In re Yukos Oil Co. Sec. Litig.,
        2006 WL 3026024 (S.D.N.Y. Oct. 25, 2006) ....................................................................17

Janus Capital Grp., Inc. v. First Deriv. Traders,
       564 U.S. 135 (2011) ...............................................................................................11, 12, 13

Jones v. Bock,
       549 U.S. 199 (2007) ...........................................................................................................11

Matrixx Initiatives, Inc. v. Siracusano,
       563 U.S. 27 (2011) .............................................................................................................20

McIntire v. China MediaExpress Holdings, Inc.,
       927 F. Supp. 2d 105 (S.D.N.Y. 2013)................................................................................14




                                                                   iii
            Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 5 of 33



                                                                                                                        Page(s)
Morales v. Quintel Entm’t, Inc.,
      249 F.3d 115 (2d Cir. 2001)...............................................................................................21

Pehlivanian v. China Gerui Advanced Materials Grp., Ltd.,
       153 F. Supp. 3d 628 (S.D.N.Y. 2015) (Ramos, J.) ..............................................................9

Pompano-Windy City Partners, Ltd. v. Bear Stearns & Co., Inc.,
     794 F. Supp. 1265 (S.D.N.Y. 1992)...................................................................................12

Robare Grp., Ltd. v. SEC,
      922 F.3d 468 (D.C. Cir. 2019) ...........................................................................................24

Rombach v. Chang,
     355 F.3d 164 (2d Cir. 2004)...............................................................................................13

Ross v. Licht,
        263 F. Supp. 395 (S.D.N.Y. 1967) ....................................................................................21

Scone Invs., L.P. v. Am. Third Mkt. Corp.,
       1998 WL 205338 (S.D.N.Y. Apr. 28, 1998)........................................................................8

SEC v. Cohen,
       332 F. Supp. 3d 575 (E.D.N.Y. 2018) ...............................................................................11

SEC v. Cohmad Sec. Corp.,
       2010 WL 363844 (S.D.N.Y. Feb. 2, 2010) ........................................................................20

SEC v. Espuelas,
       579 F. Supp. 2d 461 (S.D.N.Y. 2008)................................................................9, 14, 18, 25

SEC v. Glantz,
       1995 WL 562180 (S.D.N.Y. Sept. 20, 1995).......................................................................9

SEC v. Jean-Pierre,
       2015 WL 1054905 (S.D.N.Y. Mar. 9, 2015) .......................................................................8

SEC v. Lee,
       720 F. Supp. 2d 305 (S.D.N.Y. 2010)..................................................................................9

SEC v. Lyon,
       529 F. Supp. 2d 444 (S.D.N.Y. 2008)..................................................................................8

SEC v. Pocklington,
       2018 WL 6843663 (C.D. Cal. Sept. 10, 2018) ............................................................24, 25




                                                               iv
             Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 6 of 33



                                                                                                                                   Page(s)
SEC v. Rio Tinto plc,
       2019 WL 1244933 (S.D.N.Y. Mar. 18, 2019) ...................................................................14

SEC v. Straub,
       921 F. Supp. 2d 244 (S.D.N.Y. 2013)................................................................................11

SEC v. Thompson,
       238 F. Supp. 3d 575 (S.D.N.Y. 2017)..................................................................................8

SEC v. Wey,
       246 F. Supp. 3d 894 (S.D.N.Y. 2017)............................................................................9, 11

Shields v. Citytrust Bancorp, Inc.,
       25 F.3d 1124 (2d Cir. 1994)...............................................................................................18

Solow v. Citigroup, Inc.,
       2012 WL 1813277 (S.D.N.Y. May 18, 2012) ...................................................................16

Starr v. Sony BMG Music Entm’t,
        592 F.3d 314 (2d Cir. 2010)...............................................................................................22

Stratte-McClure v. Morgan Stanley,
        776 F.3d 94 (2d Cir. 2015).................................................................................................13

Sunstrand Corp. v. Sun Chem. Corp.,
       553 F.2d 1033 (7th Cir. 1977) ...........................................................................................14

Tanzanian Royalty Exploration Corp. v. Crede CG III, Ltd.,
      2019 WL 1368570 (S.D.N.Y. Mar. 26, 2019) ...................................................................20

Tellabs, Inc. v. Makor Issues & Rights, Ltd.,
       551 U.S. 308 (2007) .............................................................................................................9

Tounget v. City of Hemet,
      2009 WL 536835 (C.D. Cal. Feb. 24, 2009)......................................................................10

Transcon Lines v. A.G. Becker Inc.,
      470 F. Supp. 356 (S.D.N.Y. 1979) ....................................................................................22

Zagami v. Cellceutix Corp.,
      2016 WL 3199531 (S.D.N.Y. June 8, 2016) .....................................................................11

STATUTES, RULES, AND REGULATIONS

15 U.S.C. § 77q(b) .........................................................................................................................13

15 U.S.C. § 78m(d)(1) .............................................................................................................19, 21


                                                                      v
             Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 7 of 33



                                                                                                                                    Page(s)

15 U.S.C. § 78m(d)(3) .............................................................................................................21, 22

17 C.F.R. § 240.10b-5................................................................................................................8, 19

28 U.S.C. § 2462 ............................................................................................................................10

Dodd-Frank Wall Street Reform and Consumer Protection Act,
      Pub. L. No. 111-203, § 929-O, 124 Stat. 1376 (2010).......................................................25

Fed. R. Civ. P. 9(b) ......................................................................................................................2, 8

Fed. R. Civ. P. 12(b)(6)................................................................................................................8, 9

Fed. R. Civ. P. 12(f) ...................................................................................................................9, 10

Securities Exchange Act, Pub. L. No. 73-291, § 10(b), 48 Stat. 881 (1934) ...............................8, 9

Securities Exchange Act, Pub. L. No. 73-291, § 13(d), 48 Stat. 881 (1934) .......................2, 21, 23

Securities Exchange Act, Pub. L. No. 73-291, § 17(a)(2), 48 Stat. 881 (1934) ........8, 9, 19, 24, 25

Securities Exchange Act, Pub. L. No. 73-291, § 17(b), 48 Stat. 881 (1934) .................................13




                                                                      vi
         Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 8 of 33



I.      INTRODUCTION

        In its press release announcing the filing of its complaint, the Securities and Exchange

Commission proclaimed that “from 2013 to 2018, a group of prolific South Florida-based

microcap fraudsters led by Barry Honig manipulated the share price of the stock of three

companies in classic pump-and-dump schemes.” 1 The SEC’s complaint accuses Mr. Honig of

being “the primary strategist” of an “undisclosed control group” that perpetrated a scheme

marked by misleading promotions and manipulative trading, all in order to “dump[] their shares”

at the expense of “unsuspecting retail investors.”

        Amidst these sweeping allegations, Defendant Robert Ladd, the CEO of MGT Capital

Investments, Inc., a public company based in Durham, North Carolina, stands apart. Mr. Ladd is

not alleged to have been a member of the so-called “control group”; he is not alleged to have

engaged in any false promotions; and he is not alleged to have engaged in any manipulative

trading. He has been CEO of MGT, a company with diverse business operations, since 2012,

and today he remains one of MGT’s largest shareholders.

        Yet in its haste to tar him with the same brush, the SEC has filed a complaint against Mr.

Ladd that is factually deficient, legally baseless, and illogical, based on nothing more than

baseless assumption and speculation. The complaint cannot withstand scrutiny for the following

reasons. First, it rests on allegations that are beyond the statute of limitations. Second, it fails to

allege that Mr. Ladd authored or authorized any of the statements in the supposedly misleading

promotions. Third, it accuses him of various “omissions” but fails to identify the requisite duty

to disclose the allegedly omitted facts. Fourth, it alleges that he committed fraud by misstating

the Internet pioneer John McAfee’s role in the namesake company he founded, but ignores the

1
 SEC Charges Microcap Fraudsters for Roles in Lucrative Market Manipulation Schemes, Litig.
Release No. 24262, https://www.sec.gov/litigation/litreleases/2018/lr24262.htm (Sept. 7, 2018).
                                               1
         Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 9 of 33



fact that his role had been known to the market for almost 25 years. Fifth, it alleges that MGT’s

SEC filings did not disclose that Mr. Honig and other investors were operating as a “group”

within the meaning of Section 13(d) of the Securities Exchange Act of 1934, but fails to specify

how those investors met the requisite legal elements of a “group” or that Mr. Ladd knew that

those investors constituted a “group.” And finally, it utterly fails to allege that Mr. Ladd acted

with scienter in any respect—all the more so given the lack of any plausible motive for why he

would seek to harm a company he led and in which he remains a major shareholder.

       Mr. Ladd’s career and reputation have been severely damaged by the filing of this case.

And despite having already had an opportunity to amend its claims, the SEC’s ill-conceived

allegations against Mr. Ladd do not come close to meeting the heightened pleading standard of

Rule 9(b). The complaint against Mr. Ladd should be dismissed with prejudice.

II.    FACTUAL BACKGROUND

       A.      Robert Ladd and MGT

       MGT Capital Investments, Inc.—described as “Company B” in the SEC’s Amended

Complaint—is a public company incorporated in Delaware and headquartered in Durham, North

Carolina. See Amended Complaint, Dkt. 105 (“AC” or “Complaint”) ¶ 42. Originally

incorporated as a public company in Utah in 1977, see RJN Ex. A at 1, MGT was listed on the

NYSE MKT stock exchange in 2007, continuing throughout the relevant time period, AC ¶ 42. 2

It remains a public company, and its stock is currently quoted on OTC Link. Id. Defendant

Robert Ladd became President and CEO of MGT in January 2012 after having served as interim

President and CEO since February 2011. See id. ¶ 34; RJN Ex. B at 9.



2
  Copies of materials cited in this brief that can be judicially noticed are attached as Exhibits to
the Declaration of Randall Lee filed in support of the Request for Judicial Notice filed
concurrently herewith (“RJN”).
                                                  2
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 10 of 33



       Prior to joining MGT, Mr. Ladd received a B.S. in Economics from the University of

Pennsylvania’s Wharton School in 1980 and an MBA from Northwestern University’s Kellogg

School in 1982. See id. After earning his MBA, he worked for Neuberger Berman, a large

international money management firm, serving as a securities analyst and a portfolio manager for

various high net worth clients before becoming Managing Director. See id. Mr. Ladd has also

served on the boards of several other public companies. See id.

       MGT has operated in a range of different industries. At the time Mr. Ladd joined MGT,

it owned patents in the healthcare sector. See RJN Ex. C at E-7. In later years, MGT acquired

patents in casino gaming, RJN Ex. D, and purchased DraftDay, then the third largest daily

fantasy sports website, RJN Ex. E. MGT’s current business focuses on bitcoin mining, and it

owns bitcoin mining equipment and infrastructure. See RJN Ex. F at 3-6.

       The Complaint alleges that Defendants Barry Honig, Michael Brauser, John Stetson, and

John O’Rourke (collectively, the “Investor Defendants”) invested in MGT twice—once in

October 2012 and once in October 2015. See AC ¶¶ 127, 136.

       B.      The October 2012 Financing and Seeking Alpha Articles

       In October 2012, MGT raised $4.5 million of capital through a private investment in

public equity (“PIPE”) transaction, in which private investors buy shares of publicly traded stock

at a price below the current market value per share. See AC ¶ 127. The capital was used to

finance a lawsuit by MGT against several large gaming companies for infringing a patent owned

by MGT relating to casino technology. See RJN Ex. D.

       On November 5, 2012, John Ford, a stock promoter and investor, published an article on

the Seeking Alpha website at Mr. Stetson’s direction which described MGT’s financial prospects.

See AC ¶¶ 3, 72, 128. In April 2013, Mr. Ford was retained again, this time by either Mr.

Stetson or Mr. O’Rourke, to write an article on MGT’s potential recovery in its patent
                                                3
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 11 of 33



infringement case. Id. ¶¶ 129-30. In exchange for these two articles, Mr. Stetson sold some of

his MGT shares and warrants to Mr. Ford at a discount. See id. ¶¶ 75, 129. The SEC does not

allege that Mr. Ladd had any role in retaining Mr. Ford to write either of these articles, that Mr.

Ladd provided any false or misleading information to Mr. Ford, or that Mr. Ladd had any

involvement in Mr. Ford’s acquisition of MGT shares. See id. ¶¶ 129-31.

       C.      The October 2015 Financing

       In October 2015, MGT entered into separate stock subscription agreements with multiple

accredited investors for the sale of common stock and warrants in an aggregate amount of

$700,000. See AC ¶ 136. On October 9, 2015, MGT issued a Form 8-K with a press release

describing the terms of the financing and attaching forms of the relevant agreements. See RJN

Ex. G. The Form 8-K disclosed that MGT had “entered into separate subscription

agreements . . . with accredited investors . . . relating to the issuance and sale of $700,000 of

units,” AC ¶ 136, and the attached press release disclosed that the “investment was led by Barry

Honig, a private investor and a specialist in corporate finance,” RJN Ex. G at Ex. 99.1 (emphasis

added). Though there was no requirement to disclose the names of the investors (and the SEC

does not so contend), weeks later MGT filed a Form S-1 Registration Statement, which disclosed

to the public a list of the investors and set forth “certain information regarding the selling

stockholders and the shares of [MGT’s] common stock offered by them in this prospectus.” See

RJN Ex. H at 43; see also id. at 44-46 (noting that “Michael Brauser is the trustee of Grander

Holdings, Inc. 401K,” “Barry Honig is the trustee of GRQ Consultants, Inc. Roth 401K FBO

Barry Honig,” “John Stetson is the president of Stetson Capital Investments Inc.,” and “John

O’Rourke is the manager of ATC Capital LLC”). 3


3
 The S-1 statement not only listed the names of all selling stockholders participating in the
agreement, but also the number of shares of common stock (a) beneficially owned by each
                                                  4
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 12 of 33



       D.      The February 2016 Article

       Several months after the October 2015 financing, in February 2016, MGT paid for the

publication of an article in a stock newsletter. AC ¶ 139. Tracking the October 2015 Form 8-K,

the article announced, “In October, MGT announced that they entered into agreements with

several accredited investors providing $700,000 of equity capital. The investment was led by

Barry Honig, a private investor and a specialist in corporate finance.” See RJN Ex. I. It also

described several of MGT’s recent ventures, including ownership of gaming sites and DraftDay,

as well as its intellectual property related to slot machines. Id. The article disclosed that the

author had been compensated “by a third party (STAR Media LLC) for an investor awareness

campaign regarding MGT. Any compensation received constitutes a conflict of interest as to our

ability to remain objective in our communication regarding the profiled company.” See id. The

Complaint does not allege that any facts in the article were false or misleading other than the

source of the payment. Nor does the Complaint allege that Mr. Ladd knew that the author would

not disclose that he had been paid by MGT.

       E.      MGT’s Agreement with John McAfee

       On May 9, 2016, MGT announced that it had entered into an agreement to acquire certain

technology and assets relating to anti-spy software from a company named D-Vasive Inc. and to

appoint John McAfee, the well-known pioneer of internet security, as its Executive Chairman

and CEO. See RJN Ex. J. MGT also announced that it had entered into a consulting agreement

with Future Tense Secure Systems Inc., a technology incubator. Id. The agreements were fully

disclosed in a Form 8-K filing (and the SEC does not allege otherwise). See id.



stockholder prior to the offering, (b) covered by the offering for each stockholder, and (c) owned
by each stockholder upon completion of the offering, as well as the percentage of common stock
owned by each stockholder upon completion of the offering. RJN Ex. H at 44. The SEC omits
MGT’s disclosure of the identities and ownership stakes of each stockholder from the Complaint.
                                                  5
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 13 of 33



       To publicize the transaction, MGT paid a stock promotion website, StockBeast.com, to

publish a newsletter about the McAfee transaction. See AC ¶ 146. The newsletter clearly and

accurately disclosed that MGT had paid for its publication (and the SEC does not allege

otherwise). See RJN Ex. K.

       The SEC’s claim against Mr. Ladd with respect to the McAfee transaction rests on a

single statement in the press release announcing the transaction—that Mr. McAfee had “sold his

anti-virus company to Intel for $7.6 billion,” which the SEC claims was misleading because the

sale of McAfee, Inc. (formerly known as McAfee Associates) had occurred over a decade after

Mr. McAfee’s departure from that company. AC ¶ 144. It is undisputed that in August 2010,

Intel Corporation purchased McAfee, Inc., the company founded by Mr. McAfee, for nearly $7.7

billion, pursuant to which McAfee, Inc. became a wholly-owned subsidiary of Intel. See RJN

Ex. L at Ex. 99.1. It is further undisputed that McAfee, Inc., which was valued at $4.2 billion in

2017, continues to bear Mr. McAfee’s name to this day. See RJN Ex. M.

       On May 23, 2016, just two weeks after the initial press release, MGT filed a Form 10-Q

clarifying that Mr. McAfee “founded [McAfee Associates] in 1987, which was acquired by Intel

Corporation for $7.6 billion in 2010.” See AC ¶ 149. That Mr. McAfee was no longer at the

company when it was sold to Intel had long been a matter of public record, as his departure had

been disclosed in McAfee Associates’ SEC filings. See RJN Ex. N at 5; RJN Ex. O at 89.4

       Not surprisingly, the announcement of the McAfee transaction received widespread

attention in the market. As the SEC itself acknowledges, Mr. McAfee was “a well-known

cybersecurity innovator who had created a popular antivirus software bearing his name.” AC


4
  Other allegations of fraud regarding the McAfee deal do not involve Mr. Ladd. For instance,
the SEC alleges that two other Defendants engaged in coordinated trading on the morning of
May 9, 2016 to create the misleading appearance of an active market. AC ¶ 145. There are no
allegations that Mr. Ladd participated in or even knew about this alleged manipulative trading.
                                                 6
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 14 of 33



¶ 141. Following the announcement, MGT’s stock price steadily rose. See id. ¶ 147. On May 9,

the day of the announcement, MGT stock closed at $0.49. Id. On May 17, it closed at $4.15. Id.

MGT’s stock then remained high for an extended period of time, including after MGT issued the

Form 10-Q clarifying its statement about Mr. McAfee’s previous company, see id. ¶ 149; RJN

Ex. P. On July 7, approximately two months after the press release was published and more than

a month after MGT’s clarifying statement, MGT’s stock closed at $4.37, above the price on May

17 quoted by the SEC. Id. Even as late as the end of September 2016, more than four months

after MGT announced its partnership with Mr. McAfee, MGT’s stock price remained over four

times higher than its closing price on the day the press release was published. Id. In fact,

MGT’s stock price closed above its May 9 closing price every single day until the SEC filed the

complaint in this case in September 2018, more than two years after the McAfee deal was

announced. Id. In its zeal to paint a nefarious picture, the SEC omits to disclose this context.

       Mr. Ladd’s sales of MGT stock during this time were not out of line with his previous

transactions. Although the SEC alleges that Mr. Ladd made $516,554.08 on sales of MGT stock

in May 2016, see id., it omits to mention that he spent $1 million to acquire his initial stake in

MGT in 2010, see RJN Ex. Q, and another $442,241.20 to acquire more shares of MGT on

December 30, 2011, see RJN Ex. R. Additionally, it was not unusual for Mr. Ladd to sell MGT

stock when he needed personal capital, including when the stock price was low. See, e.g., RJN

Ex. S (showing that on November 30, 2015, Mr. Ladd sold 100,000 shares of MGT stock for

$0.25 per share). Finally, although the SEC alleges that Mr. Ladd sold 471,000 shares in May

2016, see AC ¶ 148, it fails to mention that Mr. Ladd still owned 540,000 shares of MGT on

May 31, 2016 (the date of the final sale of stock identified in the Complaint), see RJN Ex. T, or

that he currently owns 1,773,334 shares of MGT stock, see RJN Ex. U at 2.



                                                  7
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 15 of 33



III.   LEGAL STANDARD

        To survive a motion to dismiss under Rule 12(b)(6), a complaint must contain sufficient

factual matter to state a claim to relief that is plausible on its face. Ashcroft v. Iqbal, 556 U.S.

662, 678 (2009). A claim is facially plausible when the plaintiff pleads factual content that

allows the court to draw the reasonable inference that the defendant is liable for the misconduct

alleged. Id. The court is not required to credit “mere conclusory statements” or “threadbare

recitals of the elements of a cause of action.” Id.

        Claims sounding in fraud are also subject to the heightened pleading standard set forth in

Rule 9(b), which requires the plaintiff to “state with particularity the circumstances constituting

fraud or mistake.” SEC v. Lyon, 529 F. Supp. 2d 444, 449 (S.D.N.Y. 2008). The SEC must

(1) specify the statements it contends were fraudulent, (2) identify the speaker, (3) state where

and when the statements were made, and (4) explain why the statements were fraudulent. Id.

Where multiple defendants are alleged to have engaged in fraud, the complaint must inform each

defendant of the nature of his alleged participation in the fraud. DiVittorio v. Equidyne

Extractive Indus., Inc., 822 F.2d 1242, 1247 (2d Cir. 1987). “Courts are especially vigilant in

applying Rule 9(b) where a complaint is made against multiple defendants.” Scone Invs., L.P. v.

Am. Third Mkt. Corp., 1998 WL 205338, at *4 (S.D.N.Y. Apr. 28, 1998).

        Cases brought under § 10(b) of the Exchange Act (and Rule 10b-5(b) thereunder) and

§ 17(a)(2) of the Securities Act premise liability on an allegedly material misrepresentation or

omission. SEC v. Jean-Pierre, 2015 WL 1054905, at *8 (S.D.N.Y. Mar. 9, 2015). To establish a

Rule 10b-5(b) disclosure violation, the SEC must prove that the defendant (1) made a

misstatement of material fact or omitted to state one or more material facts that he had a duty to

disclose; (2) with scienter; (3) in connection with the purchase or sale of securities. SEC v.

Thompson, 238 F. Supp. 3d 575, 591 (S.D.N.Y. 2017). A plaintiff must allege sufficient facts to
                                                   8
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 16 of 33



create a “strong inference” of scienter. SEC v. Espuelas, 579 F. Supp. 2d 461, 470 (S.D.N.Y.

2008). A “strong inference” of scienter is one that is “more than merely plausible or

reasonable—it must be cogent and at least as compelling as any opposing inference of

nonfraudulent intent.” Pehlivanian v. China Gerui Advanced Materials Grp., Ltd., 153 F. Supp.

3d 628, 652 (S.D.N.Y. 2015) (Ramos, J.) (quoting Tellabs, Inc. v. Makor Issues & Rights, Ltd.,

551 U.S. 308, 314 (2007)); SEC v. Lee, 720 F. Supp. 2d 305, 335 (S.D.N.Y. 2010) (applying

Tellabs standard to SEC enforcement action).

       The required elements to state a claim under § 17(a)(2) are similar to those necessary for

§ 10(b), except that allegations of scienter are not required, and the SEC must allege that the

defendant actually obtained money or property by means of the untrue statements. SEC v.

Glantz, 1995 WL 562180, at *5 (S.D.N.Y. Sept. 20, 1995). If the SEC bases a § 17(a)(2) claim

on the defendant’s negligence, it must show that the defendant failed “to use reasonable care,

which is the degree of care that a reasonably careful person would use under like circumstances.”

SEC v. Wey, 246 F. Supp. 3d 894, 912 (S.D.N.Y. 2017).

       To survive a motion to dismiss a claim of aiding and abetting liability, the SEC must

allege (1) a primary violation of the Exchange Act, (2) actual knowledge of the violation by the

aider and abettor, and (3) that the aider and abettor substantially assisted the primary violation.

Espuelas, 579 F. Supp. 2d at 471.

IV.    ARGUMENT

       A.      Allegations Outside the Statute of Limitations Should Be Struck from the
               Complaint Under Rule 12(f) or Dismissed Under Rule 12(b)(6)

       The Complaint alleges that Mr. Ladd played a role in a “pump and dump perpetrated by

Honig and his associates in 2012-2013” through his purported knowledge of two promotional

articles about MGT written by John Ford for the website Seeking Alpha—one in November 2012


                                                  9
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 17 of 33



and another in April 2013. See AC ¶¶ 126-32 (referred to herein as the “Seeking Alpha

allegations”). These allegations fall outside the statute of limitations and should be stricken from

the Complaint or, at a minimum, dismissed as a basis for claims of securities fraud.

       The limitations period for the SEC’s fraud claims against Mr. Ladd is five years under 28

U.S.C. § 2462. Under § 2462, a claim based on fraud “accrues—and the five-year clock begins

to tick—when a defendant’s allegedly fraudulent conduct occurs.” Gabelli v. SEC, 568 U.S.

442, 448 (2013). Federal Rule of Civil Procedure 12(f) allows the Court to strike “time-barred

allegations in the complaint.” Tounget v. City of Hemet, 2009 WL 536835, at *14 (C.D. Cal.

Feb. 24, 2009); see also Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), rev’d on

other grounds, 510 U.S. 17 (1994) (“Superfluous historical allegations are a proper subject of a

motion to strike.”); Barrett v. Forest Labs, Inc., 39 F. Supp. 3d 407, 460 (S.D.N.Y. 2014)

(granting motion to strike portions of putative class definition because claims accruing before a

certain date would be time-barred). Because the Seeking Alpha allegations fall outside the

statute of limitations,5 the Court should strike them from the Complaint.

       The Fantasy, Inc. case is instructive. There, the Ninth Circuit affirmed a motion to strike

allegations of fraudulent activity because any claim based thereon would be time-barred. 984

F.2d at 1527. The court noted that the untimely allegations created “serious risks of prejudice to

[the defendant], delay, and confusion” and would “lead to unwarranted and prejudicial

inferences” against the defendant. Id. at 1528. The court also rejected the plaintiff’s attempt to

recharacterize the allegations as “relevant background.” Id. Similarly, this Court should strike

the Seeking Alpha allegations from the Complaint as time-barred.


5
  The Seeking Alpha allegations were first made in the SEC’s Complaint filed on March 8, 2019.
Thus, the SEC may only base its claims on conduct occurring after March 8, 2014. The Seeking
Alpha allegations, which are alleged to have occurred in 2012-13, therefore occurred outside the
statute of limitations.
                                                10
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 18 of 33



       At a minimum, the Seeking Alpha allegations should be dismissed as a cause of action. If

the SEC’s allegations “show that relief is barred by the applicable statute of limitations, the

complaint is subject to dismissal for failure to state a claim.” SEC v. Straub, 921 F. Supp. 2d

244, 259 (S.D.N.Y. 2013) (quoting Jones v. Bock, 549 U.S. 199, 215 (2007)). A claim for

making false statements accrues when “the plaintiff has a complete and present cause of action.”

Gabelli, 568 U.S. at 448 (internal quotation marks omitted). To the extent Mr. Ladd is alleged to

have made any false statements in 2012-13, the SEC’s cause of action accrued at the time the

statement was made, is time-barred, and should be dismissed. See Wey, 246 F. Supp. 3d at 934;

see also SEC v. Cohen, 332 F. Supp. 3d 575, 595 (E.D.N.Y. 2018) (dismissing claims based on

conduct outside the statute of limitations on a motion to dismiss for failure to state a claim).

       The SEC’s Seeking Alpha allegations should also be dismissed because they do not

plausibly allege that Mr. Ladd was the person who made the statements in the two articles

published by John Ford. See AC ¶¶ 128-32. Mr. Ladd’s only alleged role in those two articles is

that he “agreed to be interviewed by Ford” for one of them. Id. ¶ 131. The SEC does not allege

that Mr. Ladd had any control over Mr. Ford or Seeking Alpha or that he had ultimate authority

over the publication of the articles in question. The Seeking Alpha articles therefore cannot serve

as the basis for a claim against Mr. Ladd, because he is not alleged to have “made” any allegedly

misleading statements in those articles. See, e.g., Zagami v. Cellceutix Corp., 2016 WL

3199531, at *7 (S.D.N.Y. June 8, 2016) (dismissing securities fraud claim because, even though

defendant “participated in an interview with the article’s author,” he did not “make the published

statement in his own right” (internal quotation marks and alterations omitted)); see also Janus

Capital Grp., Inc. v. First Deriv. Traders, 564 U.S. 135, 142 (2011) (“[T]he maker of a

statement is the person or entity with ultimate authority over the statement.”).



                                                 11
         Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 19 of 33



        Nor has the SEC alleged that Mr. Ladd made the alleged false statements knowingly. See

Pompano-Windy City Partners, Ltd. v. Bear Stearns & Co., Inc., 794 F. Supp. 1265, 1283 n.7

(S.D.N.Y. 1992) (“[T]here simply are no allegations in the instant action to serve as the basis for

an inference that [defendants] knowingly made statements that were false at the time they were

made.”). Indeed, the SEC’s Complaint is devoid of any allegation of scienter as to Mr. Ladd

with respect to the Seeking Alpha allegations.

        B.      The SEC Fails to Allege Fraud in Connection with the February 2016
                Promotional Article

        The SEC’s allegations as to Mr. Ladd’s role in a purported pump and dump in February

2016 fail to state a claim. The SEC merely alleges that Mr. Ladd wired funds to a stock

promoter as payment for a promotion of MGT, that Mr. Ladd knew that a promotional article

was “slated to appear,” and that he knew or was reckless in not knowing that the article’s author

had failed to disclose that he was being compensated by MGT. See AC ¶¶ 139-40.6 What is

missing, however, is any allegation that is cognizable under the federal securities laws: the SEC

fails to allege that Mr. Ladd made any statements, that any such statements were false, that he

had any duty to ensure that the author disclose anything with respect to his compensation (let

alone the ability to control the content of the article), or that he acted with scienter.

        First, the SEC fails to plead that Mr. Ladd was a “maker” of a false statement that would

support a fraud claim. As the Supreme Court has made crystal clear, a defendant “must have

‘made’ the material misstatements” in order to be liable under the securities laws. Janus, 564

U.S. at 141. That Mr. Ladd is alleged to have wired money to a promoter who in turn paid a

6
  Of course, it is not unlawful for a company to pay third parties to promote its stock. See, e.g.,
In re Galectin Therapeutics, Inc. Sec. Litig., 843 F.3d 1257, 1272-73 (11th Cir. 2016)
(“[N]othing in the securities laws prohibits . . . a company [] from hiring analysts to promote [the
company], circulating positive articles about its [business], or recommending the purchase of
[its] stock.”). Such promotions are not uncommon among microcap companies to bring attention
to stocks that ordinarily receive less attention.
                                                   12
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 20 of 33



writer is insufficient as a matter of law. For instance, in Galectin, the plaintiffs attempted to base

their securities fraud claims on the content of articles written by stock promoters. 843 F.3d at

1272. The court held that the “Supreme Court has foreclosed that claim” because “[p]ayment for

the promotional articles does not mean that [the defendant] is the maker of the statements in the

articles.” Id. (citing Janus, 546 U.S. at 141).

       Second, the SEC has not plausibly pleaded that the promotion contained material

misrepresentations or omissions. Although the Complaint alleges that the promotion “described

[MGT’s] rosy prospects in social and ‘real money’ gaming sites and intellectual property relating

to slot machines,” AC ¶ 139, it does not even allege with particularity that these statements were

false when made (let alone describe how). See, e.g., Rombach v. Chang, 355 F.3d 164, 172 (2d

Cir. 2004) (upholding dismissal of fraud claims because, although “the complaint catalogs a

number of statements made by the individual defendants, nothing in the complaint explains with

adequate specificity how those statements were actually false or misleading”). And any

omission theory against Mr. Ladd based on the allegation that the “article did not disclose that

the author had been paid by [MGT] – at Honig’s direction – to write the article,” AC ¶ 139, fails

as well. An omission is actionable under the securities laws only when the defendant is subject

to a duty to disclose the omitted facts. Stratte-McClure v. Morgan Stanley, 776 F.3d 94, 100-01

(2d Cir. 2015). Here, the SEC does not (and cannot) allege that Mr. Ladd had any duty to

disclose who hired and paid the promoter. 7



7
  Under § 17(b) of the Securities Exchange Act, it is the promoter who has the duty to disclose
the receipt of payment for the promotion. See 15 U.S.C. § 77q(b); see also Cortina v. Anavex
Life Scis. Corp., 2016 WL 7480415, at *5 (S.D.N.Y. Dec. 29, 2016); Garvey v. Arkoosh, 354 F.
Supp. 2d 73, 83 (D. Mass. 2005) (“[T]he burden to disclose rests on the person who publishes
the analyst’s report; by contrast, there is no duty imposed by the statute on the issuer who has
paid for the puffery.” (emphasis in original)). The SEC does not allege any violation of § 17(b)
by any promoter in connection with MGT—an implicit concession that Mr. Ladd himself could
not have violated any duty.
                                                  13
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 21 of 33



       Finally, the SEC fails to plausibly allege that Mr. Ladd acted with scienter. See SEC v.

Rio Tinto plc, 2019 WL 1244933, at *13 (S.D.N.Y. Mar. 18, 2019) (the SEC must allege

fraudulent intent “with respect to each statement or omission”). The SEC merely alleges that

Mr. Ladd “either knew, or was reckless in not knowing, that the article’s author failed to disclose

that he was being compensated” by MGT to write it. AC ¶ 140. The law is clear that conclusory

allegations of scienter are insufficient. See, e.g., Espuelas, 579 F. Supp. 2d at 477 (“The SEC’s

allegations that [Defendants] ‘knew or [were] reckless in not knowing’ . . . are conclusory and do

not support a strong inference of fraudulent intent.”). What’s more, the SEC fails to allege that

Mr. Ladd knew anything about the content of the promotion before it was published. AC ¶ 140.

The allegation that Mr. Ladd should have realized an omission after the article had been

published fails as a matter of law to plead scienter. See Sunstrand Corp. v. Sun Chem. Corp.,

553 F.2d 1033, 1045 & n.19 (7th Cir. 1977) (in evaluating scienter, the “circumstances must be

viewed in their contemporaneous configuration rather than in the blazing light of hindsight”).

       Nor do Mr. Ladd’s stock sales plausibly support an inference of scienter, because there

are no allegations that these sales were out of character for Mr. Ladd. See AC ¶ 140. The “mere

allegation of insider sales . . . does not, without more, properly allege motive”; rather, the SEC

must “further allege adequately that the insider sales were ‘unusual.’” In re LaBranche Sec.

Litig., 405 F. Supp. 2d 333, 354 (S.D.N.Y. 2005) (citing Acito v. IMCERA Grp., Inc., 47 F.3d 47,

54 (2d Cir. 1995)); see also McIntire v. China MediaExpress Holdings, Inc., 927 F. Supp. 2d

105, 127 (S.D.N.Y. 2013) (“[C]ourts have repeatedly held that executive stock sales, standing

alone, are insufficient to support a strong inference of fraudulent intent.” (internal quotation

marks omitted)). Further, selling shares while the stock price is high is not sufficient to allege

scienter: courts in this district “have required ‘suspicious or unusual’ activity in connection with



                                                 14
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 22 of 33



stock sales.” In re Cannavest Corp. Sec. Litig., 307 F. Supp. 3d 222, 244 (S.D.N.Y. 2018). In

determining whether stock sales are unusual, courts look to factors such as the amount of profit

from the sales, the portion of stockholdings sold, and the change in volume of the defendant’s

sales. In re Scholastic Corp. Sec. Litig., 252 F.3d 63, 74 (2d Cir. 2001). The SEC has not

alleged that Mr. Ladd’s volume or pattern of stock sales were unusual in any way—only that Mr.

Ladd sold shares over the course of three months and received $39,204.12 in proceeds. See AC

¶ 140; see also LaBranche, 405 F. Supp. 2d at 354-55 (holding, in a case where a plaintiff

alleged insider transactions with sales of several million dollars in stock, scienter was not

properly alleged because plaintiffs did not allege other factors showing unusualness).

       C.      The SEC Fails to State a Fraud Claim in Connection with the McAfee
               Announcement

       The SEC does not come close to alleging that Mr. Ladd engaged in fraud in connection

with the announcement of the McAfee deal. Notably, the SEC does not allege that Mr. Ladd

misrepresented the McAfee transaction itself in any way. Rather, the SEC bases its fraud claim

on a single statement in the press release concerning Mr. McAfee’s prior role in his namesake

company—information that had been known by the investing public for almost 25 years.

       In its May 9, 2016 Form 8-K, which included a press release as an exhibit, MGT

described the McAfee deal in great detail: it included the asset purchase and consulting

agreements for the deal (see Exhibits 10.1 and 10.2); it described the warranties and

representations of the parties (see Exhibit 10.1 at Articles IV & V); and it provided a breakdown

of the allocation of shares at closing (see Exhibit 10.1 at Annex A). RJN Ex. J. The SEC does

not allege that MGT’s description of the actual transaction was false or misleading in any way.

       The only language the SEC alleges was materially false was the statement in the one-

page press release exhibit that Mr. McAfee “sold his anti-virus company to Intel for $7.6


                                                 15
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 23 of 33



billion.” AC ¶ 144. The SEC claims that this statement misled investors about Mr. McAfee’s

prior financial success because the sale of his company (McAfee Associates) “had occurred over

a decade after [Mr. McAfee’s] departure from that company.” Id. But the SEC cannot plausibly

allege that this statement was material to investors because the circumstances of the sale of

McAfee Associates had been known to the public for almost 25 years. The public filings of

McAfee Associates make it a matter of clear historical record that Mr. McAfee had resigned

from his executive positions by January 1994 and from the board of directors by June 1995. See

RJN Ex. N at 5; RJN Ex. O at 89. Mr. McAfee’s departure from the company was also widely

reported at the time. For example, the Wall Street Journal reported in 1995 that Mr. McAfee had

resigned from McAfee Associates “to pursue other interests.” RJN Ex. V.

       Mr. McAfee’s resignation continued to be disseminated to the public in the subsequent

years as Mr. McAfee remained a public figure. See, e.g., RJN Ex. W (2012 article reporting that

Mr. McAfee “sold his remaining shares in the company that bears his name” in 1994). In fact,

Mr. McAfee’s public biography on Wikipedia at the time of the press release made clear that Mr.

McAfee resigned from McAfee Associates in 1994 and shortly thereafter “sold his remaining

stake in the company.” RJN Ex. X.

       The law is clear that a misrepresentation cannot be material if the truth is already known

to the market. As the Second Circuit explained in Ganino v. Citizens Utilities Co., 228 F.3d 154

(2d Cir. 2000), a defendant can rebut a presumption that its alleged misrepresentations have

affected the market price of a stock by showing that the truth of the matter was already known.

Id. at 167. Likewise, this Court has repeatedly found that a “misrepresentation is immaterial if

the information is already known to the market because the misrepresentation cannot then

defraud the market.” See, e.g., Solow v. Citigroup, Inc., 2012 WL 1813277, at *6 (S.D.N.Y.



                                                16
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 24 of 33



May 18, 2012) (internal quotation marks omitted); see also In re Yukos Oil Co. Sec. Litig., 2006

WL 3026024, at *22 (S.D.N.Y. Oct. 25, 2006) (holding that plaintiffs failed to state a claim

because “no reasonable investor could have been misled” by a failure to disclose information

“[g]iven the detail with which . . . two major international newspapers reported” on that

information); In re Bank of Am. Corp. Sec., Deriv., & ERISA Litig., 2012 WL 1353523, at *8

(S.D.N.Y. Apr. 12, 2012) (granting dismissal on a claim that defendants failed to disclose state

investigations into their company because “the plaintiff has not alleged with particularity the

existence of any material information not disseminated to the market” in “numerous press

accounts” about the investigations). Because the information upon which the SEC’s complaint

relies was known to the market for almost a quarter century, it cannot support a claim of fraud.

Cf. Brown v. E.F. Hutton Grp., Inc., 991 F.2d 1020, 1032 (2d Cir. 1993) (“An investor may not

justifiably rely on a misrepresentation if, through minimal diligence, the investor should have

discovered the truth.”).8

       What’s more, although the Complaint fails to articulate any theory of materiality, it

implies that the statement in the press release was material to investors because of the

“suggest[ion]” that MGT “might achieve similar success” to McAfee Associates. AC ¶ 144.

Aside from whether an unstated “suggestion” can even be an actionable misstatement, the

alleged “suggestion”—that MGT had teamed up with a successful and well-known anti-virus

entrepreneur and that it hoped he would achieve similar success with MGT as well—would have

been no different even if the Form 8-K had made clear that Mr. McAfee had resigned from the

company he founded by the time it was sold to Intel. And if the “suggestion” being made to

8
 Significantly, the media characterized Mr. McAfee’s prior history in the same manner as MGT.
See RJN Ex. Y (McAfee “retained the right in other contexts to use his name in advertising,
promotions and presentations, including with regard to his role at McAfee Associates, which he
sold to Intel for $7.7 billion in 2010.” (emphasis added)); RJN Ex. Z (“McAfee had sold Intel his
company in 2010 for $7.7 billion.”).
                                                17
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 25 of 33



investors would have been the same no matter how it was phrased, the statement cannot be

actionable as a violation of the securities laws.

       The SEC also fails plausibly to allege scienter in connection with the May 9, 2016 Form

8-K. Once again, the Complaint does nothing more than repeat that Mr. Ladd “knew or was

reckless in not knowing” that the statement in question was false. AC ¶ 144. There are no

allegations surrounding the drafting of the Form 8-K that would support a strong inference that

Mr. Ladd had the intent to deceive investors. And while the Complaint alleges that certain

Defendants engaged in coordinated trading on May 9, 2016, it does not (and could not) allege

that Mr. Ladd engaged in this activity or knew that it was happening. Id. ¶ 145; see also

DiVittorio, 822 F.2d at 1247 (where multiple defendants are alleged to have engaged in fraud,

the complaint must inform each defendant of the nature of his alleged participation in the fraud).

The SEC’s conclusory allegations of scienter therefore fail as a matter of law. Espuelas, 579 F.

Supp. 2d at 477 (“The SEC’s allegations that [Defendants] ‘knew or [were] reckless in not

knowing’ . . . are conclusory and do not support a strong inference of fraudulent intent.”); see

also Shields v. Citytrust Bancorp, Inc., 25 F.3d 1124, 1129 (2d Cir. 1994) (“[C]onclusory

allegations—that Defendants ‘knew but concealed’ some things, or ‘knew or were reckless in not

knowing other things’—do not satisfy the requirements of Rule 9(b).”); Decker v. Massey-

Ferguson, Ltd., 681 F.2d 111, 121 (2d Cir. 1982) (“[C]onclusory allegations of fraudulent

conduct are insufficient without specific allegations of fact.”).

       Nor can the SEC point to Mr. Ladd’s stock sales following the May 9 press release as

supporting an inference of scienter. See AC ¶ 148. Selling shares while the stock price is high is

not sufficient to allege scienter without suspicious or unusual activity in connection with the

sales. See supra at 14-15. The SEC does not allege any facts concerning the amount of profit



                                                    18
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 26 of 33



from the sales, the portion of stockholdings sold, or changes in volume of Mr. Ladd’s sales. See

id. Because the SEC does not allege any facts that would suggest that Mr. Ladd’s stock sales

were unusual, it cannot establish scienter.

       Finally, just two weeks after the May 9 release, MGT clarified the statement about Mr.

McAfee to read that “[Mr. McAfee] founded [his company] in 1987, which was acquired by Intel

Corporation for $7.6 billion in 2010.” AC ¶ 149. This clarification further undermines any

inference of scienter. See, e.g., Antelis v. Freeman, 799 F. Supp. 2d 854, 867 (N.D. Ill. 2011)

(holding that prompt corrective disclosures suggested “that an innocent explanation for the

defendants’ statements was more compelling than that they acted with scienter”).

       D.      The SEC Fails to State a Claim in Connection with MGT’s Other Disclosures

       The SEC alleges that Mr. Ladd violated Rule 10b-5(b) and § 17(a)(2) by omitting (a) the

“true extent” of the Investor Defendants’ ownership of MGT stock, and (b) the Investor

Defendants’ purported “collective control over [MGT’s] management and policies” in MGT’s

2015 Form 10-K and its November 6, 2015 Form S-1, which the company filed to register the

sale of shares issued in connection with the October 2015 financing. See AC ¶¶ 137, 158, 214,

220. These allegations are insufficient to state a claim.

       First, the SEC’s allegations misstate and mischaracterize the purportedly misleading

filings. MGT’s 2015 Form 10-K truthfully and accurately met all the requirements of that filing.

15 U.S.C. § 78m(d)(1) requires disclosure of the ownership of shares of persons who own more

than five percent of a company’s stock. In the section of the Form 10-K entitled “Security

Ownership of Certain Beneficial Owners,” MGT plainly disclosed the shareholdings of the only

three shareholders who owned more than five percent—Mr. Ladd, Mr. Honig, and Iroquois

Capital Management, LLC. RJN Ex. A at 26-27. None of the other Investor Defendants owned

more than five percent of MGT’s shares. Similarly, the Form S-1 filed November 6, 2015
                                                 19
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 27 of 33



specifically identified all four investors in the October 2015 financing (which the SEC fails to

mention in the Complaint). RJN Ex. H at 44-46 (noting that “Michael Brauser is the trustee of

Grander Holdings, Inc. 401K,” “Barry Honig is the trustee of GRQ Consultants, Inc. Roth 401K

FBO Barry Honig,” “John Stetson is the president of Stetson Capital Investments Inc.,” and

“John O’Rourke is the manager of ATC Capital LLC”). The Form S-1 also detailed precisely

how ownership is calculated, including the impact from convertible securities. See id. at 44.

Simply put, the filings that form the centerpiece of the SEC’s Complaint were truthful, accurate,

and met all applicable regulatory requirements—and the SEC does not allege otherwise.

       Faced with the reality that the filings at issue were in fact accurate, the SEC resorts to a

vague omissions theory, claiming that Mr. Ladd signed MGT filings “that did not disclose the

full extent of [the Investor Defendants’] ownership or control.” AC ¶ 150. That theory is fatally

flawed as well. The Supreme Court has repeatedly explained that the anti-fraud provisions of the

federal securities laws “do not create an affirmative duty to disclose any and all material

information.” Matrixx Initiatives, Inc. v. Siracusano, 563 U.S. 27, 44 (2011). For an omission to

be actionable, the SEC must allege a duty to disclose that Mr. Ladd breached, which it has failed

to do. See, e.g., Tanzanian Royalty Exploration Corp. v. Crede CG III, Ltd., 2019 WL 1368570,

at *8 (S.D.N.Y. Mar. 26, 2019) (dismissing securities fraud claims because the complaint “does

not allege that [defendant] had a duty to disclose”). There is no generalized duty to disclose “the

full extent” of certain investors’ ownership or control. Cf. SEC v. Cohmad Sec. Corp., 2010 WL

363844, at *4-5 (S.D.N.Y. Feb. 2, 2010) (finding “speculative and flimsy” fraud claims based on

an alleged failure to disclose “the full extent” of the relationship between two companies in

regulatory filings). Thus, the alleged failure to make such a disclosure is not actionable. 9


9
  For the same reason, the SEC’s claim that the company’s October 8, 2015 Form 8-K, which it
filed in connection with the October 2015 financing, “did not disclose the investors’ identities,”
                                                 20
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 28 of 33



       In the absence of either affirmative misstatements or a duty to disclose, the SEC attempts

to manufacture a claim out of whole cloth by turning a regulatory reporting requirement into a

fraud claim. Section 13(d) of the Exchange Act requires any “person” who is the beneficial

owner of more than five percent of a class of stock to disclose such ownership. 15 U.S.C.

§ 78m(d)(1). Section 78m(d)(3) provides that when “two or more persons act as a partnership,

limited partnership, syndicate, or other group for the purpose of acquiring, holding, or disposing

of securities of an issuer, such syndicate or group shall be deemed a ‘person’ for the purposes” of

§ 78m(d)(1). The SEC does not allege that Mr. Ladd failed to disclose his own beneficial

ownership under § 78m(d)(1). Instead, it alleges that the Investor Defendants were all members

of a “group” and should be considered a single “person” under § 78m(d)(3), AC ¶ 154, and that

Mr. Ladd should have disclosed the group’s beneficial ownership in two SEC filings, id. ¶ 158.

       To begin, the allegation that the Investor Defendants constituted a “group” and thus a

single person under Section 13(d) is purely conclusory, devoid of factual particularity and

untethered to the actual legal standard. The key question in determining whether a “group”

exists under Section 13(d) is whether there was an agreement among the relevant individuals to

act together for the purpose of acquiring, holding, or selling securities. Morales v. Quintel

Entm’t, Inc., 249 F.3d 115, 123-24 (2d Cir. 2001); see Corenco Corp. v. Schiavone & Sons, Inc.,

488 F.2d 207, 217 (2d Cir. 1973) (stating that “absent an agreement between them a ‘group’

would not exist”). “Mere relationship, among persons or entities, whether family, personal or

business, is insufficient to create the group which is deemed to be a statutory person.” Transcon


AC ¶ 136, is not actionable. As the SEC acknowledges, the Form 8-K accurately disclosed that
the company had “entered into separate subscription agreements . . . with accredited investors . . .
relating to the issuance and sale of $700,000 of units.” Id. It also accurately disclosed that Barry
Honig was the lead investor. RJN Ex. G. The SEC has not alleged (nor could it) that Mr. Ladd
had a duty to disclose the identities of all the investors, nor that he acted with scienter in not
doing so. Cf. Ross v. Licht, 263 F. Supp. 395 (S.D.N.Y. 1967) (identity of purchasers of
corporate stock held not to be a material fact required to be disclosed by a corporate insider).
                                                21
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 29 of 33



Lines v. A.G. Becker Inc., 470 F. Supp. 356, 375 (S.D.N.Y. 1979) (internal quotation marks

omitted). Similarly, “proof that defendants had jointly invested together in other transactions

would not establish that they currently have an agreement with respect to [the company’s]

stock.” Forward Indus. v. Wise, 2014 WL 6901137, at *3 (S.D.N.Y. Sept. 23, 2014) (internal

quotation marks omitted).

       Where a claim is premised on the existence of an agreement, “stating such a claim

requires a complaint with enough factual matter (taken as true) to suggest that an agreement was

made.” Chechele v. Scheetz, 819 F. Supp. 2d 342, 346 (S.D.N.Y. 2011) (quoting Bell Atlantic

Corp. v. Twombly, 550 U.S. 544, 556 (2007)). Thus, while assessing the facial plausibility of an

alleged shareholder group, this court has held that “bare allegations that the parties agreed that

they would maintain control of [the company] will not, without more, suffice.” Id. at 347

(internal quotation marks and alterations omitted); see also In re Facebook, Inc., IPO Sec. &

Deriv. Litig., 986 F. Supp. 2d 544, 554 (S.D.N.Y. 2014) (granting motion to dismiss because

conclusory allegations of an agreement did not suffice to “plead any basis on which to infer the

formation of a ‘group’”). Thus, the allegation that the Investor Defendants “collectively

exercised control over Ladd and the management and policies of” MGT, AC ¶ 152, is

insufficient, because exercising control over the management and policies of a company has no

bearing on whether a set of individuals qualifies as a “group” under § 78m(d)(3), which looks at

whether the individuals agreed to acquire, hold, or dispose of securities. Here, the SEC has

pleaded no facts about the alleged agreement, and thus has not adequately pleaded the existence

of a group. See Starr v. Sony BMG Music Entm’t, 592 F.3d 314, 319 n.2 (2d Cir. 2010) (“The

allegation that defendants agreed . . . is obviously conclusory, and is not accepted as true.”).




                                                 22
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 30 of 33



       Even if the SEC had adequately alleged that the Investor Defendants were a “group”

under Section 13(d), the Complaint contains an additional fatal defect—namely, it does not

allege that Mr. Ladd knew that they acted in concert for the purpose of acquiring, holding, and

disposing of shares such that he acted with scienter when he signed forms that did not disclose

the alleged group. The SEC alleges only that Mr. Ladd knew that the Investor Defendants were

“working together.” AC ¶ 158. But the mere fact that individuals are working together does not

establish a “group” under Section 13(d). See In re Charter Commc’ns, 419 B.R. 221, 239

(Bankr. S.D.N.Y. 2009) (“Apollo, Oaktree, and Crestview certainly are members of a group in

the sense that they are working together to maximize their investments in Charter and to achieve

common economic goals, but they do not fit the definition of a group as used in Section 13(d).”).

       What’s more, the very filings that the SEC claims were misleading—the Form 10-K and

the Form S-1—specifically identified Mr. Honig as a large investor (in the case of the Form 10-

K) and the identities of all four investors in the October 2015 financing (in the case of the Form

S-1). RJN Ex. A at 26-27; RJN Ex. H at 44-46. This transparent and accurate disclosure of who

was investing plainly undermines any plausible inference of scienter on the part of Mr. Ladd

with respect to the so-called “true extent” of the Investor Defendants’ shareholdings.

       In the absence of any actual evidence of scienter, the SEC seizes on the word “group” in

a single email that Mr. Ladd sent to Mr. Honig. See AC ¶ 137 (“In November 2015, Ladd wrote

Honig: ‘As for the cap table, we have 17.2 million common shares outstanding, including your

group’s 2.8 million.’” (emphasis in original)). The SEC has pleaded no facts establishing that

when Mr. Ladd used the word “group” in this email, he was not using it colloquially, and the

inference that Mr. Ladd knew the Investor Defendants were operating as a group within the

precise meaning of Section 13(d) is nothing more than rank speculation. Cf. Dombek v. Adler,



                                                23
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 31 of 33



2019 WL 459019, at *4 (D.S.C. Feb. 5, 2019) (party could not rely on documents that referred to

a “partnership” because “the mere use of the term ‘partner’ in the colloquial sense does not

suffice to allege a partnership”). The SEC’s threadbare allegations of scienter fail to state a

claim and demonstrate the weakness of its theory of fraud.

       E.      The SEC Has Not Adequately Alleged Negligence

       It is not clear whether the SEC is pursuing a theory of negligence. To the extent the SEC

premises its § 17(a)(2) claim on negligence as well as scienter, see AC ¶ 220 (“knowingly,

recklessly, or negligently”), it has not adequately alleged negligence beyond a stray reference in

its claim for relief. Indeed, other than that reference, the SEC has pleaded an intent case, not a

negligence case. See, e.g., AC ¶ 144 (“Ladd knew or was reckless in not knowing . . .”); ¶ 150

(“Ladd, with full knowledge . . .”); ¶ 158 (“Notwithstanding that Ladd knew . . .”). “Intent and

negligence are regarded as mutually exclusive grounds for liability.” Robare Grp., Ltd. v. SEC,

922 F.3d 468, 479 (D.C. Cir. 2019) (quoting Harris v. U.S. Dep’t of Veterans Affairs, 776 F.3d

907, 916 (D.C. Cir. 2015)). “Any given act may be intentional or it may be negligent, but it

cannot be both.” Id. Thus, a plaintiff does not properly plead a claim for negligence by a stray

reference to negligence in its complaint because “[m]erely using the term negligence does not

raise a cognizable claim of negligence.” Harris, 776 F.3d at 916; see also id. (dismissing

negligence claim because the complaint did not “distinguish between negligent and intentional

acts” and did not “identify any specific act that was allegedly negligent”).

       If the SEC were trying to plead a negligence case, it has failed to allege the applicable

standard of care. SEC v. Pocklington is instructive. 2018 WL 6843663 (C.D. Cal. Sept. 10,

2018). There, the court dismissed a negligence claim because the complaint was unclear as to

whether the defendant was negligent under a general standard of reasonableness or a specialized

standard of care applicable to his profession. Id. at *16. The court held that, because the SEC
                                                 24
        Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 32 of 33



“alleges no facts regarding the proper standard of care for a CPA, it is unclear what duty of care

[defendant] allegedly breached by his conduct.” Id. Because the SEC does not allege what

standard of care would apply to Mr. Ladd’s actions as a non-lawyer CEO of a microcap

company—or allege a negligence theory in the Complaint at all—its § 17(a)(2) claim should be

dismissed to the extent it is predicated on negligence.

       F.      The Complaint Fails to State a Valid Claim for Aiding and Abetting

       The SEC’s claims that Mr. Ladd aided and abetted others’ securities violations fail as a

matter of law. The SEC contends that Mr. Ladd “provided knowing and substantial assistance”

to the Investor Defendants’ securities fraud violations. See AC ¶¶ 235, 240. In order to establish

knowledge for an aiding and abetting claim, the SEC must allege actual knowledge. Espuelas,

579 F. Supp. 2d at 471.10 For the reasons set forth above with respect to Mr. Ladd’s lack of

scienter, nothing in the Complaint plausibly demonstrates that Mr. Ladd had actual knowledge

that he was substantially assisting anyone in the commission of alleged securities fraud. See,

e.g., id. at 485 (dismissing aiding and abetting claims because the court “has already found that

the Complaint does not adequately plead scienter”).

V.     CONCLUSION

       For the foregoing reasons, Mr. Ladd respectfully requests that this Court dismiss the

SEC’s claims against him with prejudice.




10
  Although Section 929O of the Dodd-Frank Act changed the state of mind for aiding and
abetting under Section 20(e) from “knowingly” to “knowingly or recklessly,” the SEC does not
plead that Mr. Ladd acted recklessly in his alleged aiding and abetting. See AC ¶¶ 233-42.
                                                 25
       Case 1:18-cv-08175-ER Document 147 Filed 06/19/19 Page 33 of 33




Dated: June 19, 2019                   Respectfully submitted,


                                       /s/ Randall R. Lee
                                       Randall R. Lee (admitted pro hac vice)
                                       COOLEY LLP
                                       1333 2nd Street
                                       Santa Monica, CA 90401
                                       randall.lee@cooley.com
                                       Telephone: (310) 883-6485
                                       Facsimile: (310) 883-6500

                                       Christopher Johnstone (admitted pro hac vice)
                                       WILMER CUTLER PICKERING HALE
                                         AND DORR LLP
                                       950 Page Mill Road
                                       Palo Alto, CA 94304
                                       chris.johnstone@wilmerhale.com
                                       Telephone: (650) 858-6147
                                       Facsimile: (650) 858-6100

                                       Attorneys for Defendant Robert Ladd




                                     26
